       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                        JUDGMENT RENDERED AUGUST 23, 2024



                                      NO. 03-24-00335-CR


                             Stephaney Veljean Lafears, Appellant

                                               v.

                                  The State of Texas, Appellee




   APPEAL FROM COUNTY COURT AT LAW NO. 3 OF WILLIAMSON COUNTY
            BEFORE JUSTICES BAKER, SMITH, AND THEOFANIS
 DISMISSED FOR WANT OF JURISDICTION-- OPINION BY JUSTICE THEOFANIS




This is an appeal from the purported order entered by the trial court. Having reviewed the

record, it appears that the Court lacks jurisdiction over this appeal.   Therefore, the Court

dismisses the appeal for want of jurisdiction. Because appellant is indigent and unable to pay

costs, no adjudication of costs is made.
